
100 N.Y.2d 608 (2003)
ARAX MINASSIAN, Respondent,
v.
MYRON H. TEMARES et al., Appellants, et al., Defendants.
Court of Appeals of the State of New York.
Submitted September 2, 2003.
Decided September 18, 2003.
Appeal, insofar as taken from the April 2003 order of the *609 Appellate Division modifying, and affirming as modified, the order and resettled judgment of Supreme Court, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved; appeal, insofar as taken from the June 2003 order of the Appellate Division denying reargument or leave to appeal, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such order does not finally determine the action within the meaning of the Constitution.
